   Case: 22-3170    Document: 17           Filed: 03/17/2023    Pages: 38



                             No. 22-3170


     IN THE UNITED STATES COURT OF APPEALS
            FOR THE SEVENTH CIRCUIT



                           Madeline Krasno,

                                        Plaintiff–Appellant,

                                   v.

                        Jennifer Mnookin, et al.,

                                        Defendants–Appellees.



        On appeal from the United States District Court for the
   Western District of Wisconsin — No. 3:21-CV-00099-slc (Crocker, S.)



   BRIEF OF AMICI CURIAE THE KNIGHT FIRST AMENDMENT
INSTITUTE AT COLUMBIA UNIVERSITY, THE FOUNDATION FOR
 INDIVIDUAL RIGHTS AND EXPRESSION, AND PEOPLE FOR THE
ETHICAL TREATMENT OF ANIMALS IN SUPPORT OF APPELLANT




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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _______________
                    22-3170

Short Caption: _________________________________________________________________________________________
               Krasno v. Mnookin, et al.

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
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           N/A

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Attorney’s Signature: ________________________________________
                      /s/ Katherine Fallow                     Date: ________________________________________
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Attorney’s Printed Name: __________________________________________________________________________________
                         Katherine Fallow

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           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

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Attorney’s Signature: ________________________________________
                      /s/ Stephanie Krent                      Date: ________________________________________
                                                                     03/17/23

Attorney’s Printed Name: __________________________________________________________________________________
                         Stephanie Krent

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           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



Attorney’s Signature: ________________________________________
                      /s/ Alexia Ramirez                       Date: ________________________________________
                                                                     03/17/23

Attorney’s Printed Name: __________________________________________________________________________________
                         Alexia Ramirez

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                               Statement of Interest1

      The Knight First Amendment Institute at Columbia University is a non-

partisan, not-for-profit organization that works to defend the freedoms of speech and

the press in the digital age through strategic litigation, research, and public

education. The Institute’s aim is to promote a system of free expression that is open

and inclusive, that broadens and elevates public discourse, and that fosters creativity,

accountability, and effective self-government. The Institute is particularly committed

to protecting the integrity and vitality of online forums in which citizens communicate

with each other and government representatives about matters of public concern. The

Institute is currently representing plaintiffs, including Appellant Madeline Krasno,

in a social media blocking case in the United States District Court for the District of

Columbia, People for the Ethical Treatment of Animals v. Tabak, No. 1:21-cv-02380

(D.D.C.), and it has also represented plaintiffs in two First Amendment challenges to

government officials’ practice of blocking critics from social media accounts used for

official purposes. See Davison v. Randall, 912 F.3d 666 (4th Cir. 2019); Knight First

Amend. Inst. at Columbia Univ. v. Trump, 928 F.3d 226 (2d Cir. 2019), vacated as




  1  In accordance with Federal Rule of Appellate Procedure 29(a)(4)(E), amici certify
that (1) while the Knight Institute represents Appellant Madeline Krasno in another
matter, this brief was authored entirely by amici and its counsel and not by counsel
representing any party in this appeal, in whole or in part; (2) no party or counsel
representing any party in this appeal contributed money to preparing or submitting
this brief; and (3) apart from amici and its counsel, no other person contributed money
to the preparation or submission of this brief. All parties have consented to the filing
of this brief.


                                           1
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moot sub nom. Biden v. Knight First Amend. Inst. at Columbia Univ., 141 S. Ct. 1220

(Mem.) (2021).

      The Foundation for Individual Rights and Expression (FIRE) is a non-partisan,

not-for-profit organization dedicated to defending the individual rights of all

Americans to free speech and free thought—the essential qualities of liberty. Since

1999, FIRE has successfully defended First Amendment rights on campuses

nationwide through public advocacy, targeted litigation, and amicus curiae filings in

cases that implicate expressive rights. For example, after Wright State University

censored student and faculty supporters of a January 2019 faculty strike by hiding

and removing comments from its official Facebook account, FIRE successfully

advocated for a change to the university’s social media policy. See Wright State

University: Facebook Comments Restricted During Faculty Union Strike, Found. for

Individual Rts. & Expression, https://perma.cc/6F8S-WQ5T. Additionally, FIRE has

collected and reported on public records from over 200 state colleges and universities,

demonstrating that these educational institutions widely use keyword filtering and

blocking tools on social media sites that constitute public forums for speech. See No

Comment: Public Universities’ Social Media Use and the First Amendment, Found.

for Individual Rts. & Expression (Apr. 22, 2020), https://perma.cc/3G4E-86WY. In

June 2022, FIRE expanded its mission to protect expression beyond colleges and




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universities.2 It currently represents various plaintiffs in lawsuits seeking remedies

for First Amendment violations.

      People for the Ethical Treatment of Animals (PETA) is a not-for-profit animal

rights organization based in Norfolk, Virginia. Founded in 1980, PETA is dedicated

to establishing and defending the rights of all animals. PETA’s public education and

campaign activities have a particular focus on animal mistreatment in laboratories,

the food industry, the clothing trade, and the entertainment industry. PETA

frequently launches social media campaigns in order to pressure public and private

entities to change their animal treatment practices. For this reason, keyword

blocking technology policies like the one at issue here—which record evidence

suggests were implemented in concert with monitoring PETA campaigns, which bar

references to and attempts to notify PETA, and which bar keywords regularly used in

PETA campaigns—are of particular concern to PETA. Specifically, both by targeting

PETA and by discriminating against animal rights advocacy on the basis of

viewpoint, they burden the ability of PETA and its supporters to participate in public

forums and hear other animal advocates’ speech.




  2 Formerly known as the Foundation for Individual Rights in Education, FIRE
recently changed its name to reflect its expanded mission.


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                             Summary of Argument

      The University of Wisconsin–Madison (“the University”) has engaged in illicit

viewpoint discrimination by attempting to cleanse the comment threads on its

Facebook and Instagram accounts of criticism of its involvement in controversial

animal testing.3 That viewpoint discrimination violates the First Amendment,

because the comment threads on the University’s social media accounts are public

forums within the meaning of the First Amendment. The University has responded

by arguing that its use of keyword blocking technology to prevent commenters from

posting comments containing certain words—like “@peta,” “primate,” “animal

testing,” and “cruelty”—is a permissible implementation of its requirement that any

comments stay “on-topic.” But as amici argue below, the University’s use of keyword

blocking to censor speech related to animal advocacy discriminates based on

viewpoint and is an unreasonable way of implementing an off-topic rule in a limited

or nonpublic forum.

      This case presents the Court with the opportunity to join numerous other

circuit courts in recognizing that government-operated social media accounts that

allow members of the public to post comments in the accounts’ comment threads are

public forums that must remain free from viewpoint discrimination. See, e.g., Garnier




  3 As used in this brief, “comment threads” refers to the spaces on the University’s
Facebook and Instagram accounts where members of the public can publish
comments that appear under a message, or “post,” made by the University. Courts
sometimes refer to comment threads as the “interactive components” of government-
operated social media accounts, which numerous courts have held are spaces opened
up for speech by members of the public.


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v. O’Connor-Ratcliff, 41 F.4th 1158 (9th Cir. 2022); Knight First Amend. Inst. at

Columbia Univ. v. Trump, 928 F.3d 226 (2d Cir. 2019), vacated as moot sub nom.

Biden v. Knight First Amend. Inst. at Columbia Univ., 141 S. Ct. 1220 (Mem.) (2021);

Davison v. Randall, 912 F.3d 666 (4th Cir. 2019); Robinson v. Hunt Cnty., Texas, 921

F.3d 440 (5th Cir. 2019). Over the past two decades, government actors—including

elected representatives, appointed officials, government agencies, and public

institutions like state universities—have adopted social media accounts as important

tools for speaking to, and hearing from, members of the public. But the vibrancy and

integrity of these spaces as sites for public discussion and engagement are threatened

when government actors exclude disfavored views. Careful application of the public

forum doctrine to speech restrictions in government-operated social media accounts

plays a crucial role in ensuring that these spaces live up to their promise as sites of

open public communication and political engagement.

      The University’s use of keyword blocking to exclude speech relating to animal

advocacy from the comment threads on its social media accounts violates the First

Amendment. Even accepting the district court’s conclusion that the University’s

social media accounts function as limited or nonpublic forums, its keyword blocking

fails both requirements for regulation of speech in these forums: first, that speech

restrictions be viewpoint-neutral, and second, that the restrictions be reasonable in

light of the purpose of the forum. See Cornelius v. NAACP Legal Def. & Educ. Fund,

Inc., 473 U.S. 788, 806 (1985).




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      The University’s keyword blocking is neither. First, the University’s decision

to use Facebook’s and Instagram’s optional keyword blocking features to

automatically hide any comments containing words and phrases commonly used by

animal advocates (including, in one instance, amicus PETA’s name) discriminates

based on viewpoint. Under the guise of using keyword blocking to prohibit off-topic

comments, the University has singled out for censorship speech commonly used by

animal advocates who criticize the University.

      Second, the University’s keyword blocking is not a reasonable means of

implementing its rule prohibiting off-topic comments. It is illogical and unreasonable

to assume that words commonly used by animal advocates will always be off-topic,

without regard to the specific content of each of the University’s posts. And, indeed,

the University concedes that it has hidden comments by animal advocates even when

those comments were relevant to the original post. Further, the University’s use of

keyword blocking to ban speech related to animal advocacy, while not similarly

targeting other types of off-topic speech, is further evidence that its keyword blocking

is an unreasonable way to enforce an off-topic rule.

      This Court should make clear that the government may not evade its First

Amendment obligations when operating a public forum by systematically

suppressing critical speech under the guise of enforcing an ostensibly neutral rule

prohibiting off-topic comments.




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                                         Argument

I.         Government-operated social media accounts play a vital role in public
           discourse in the digital age.

           Social media platforms are the “most important places . . . for the exchange of

views” today. Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017) (cleaned

up). Government actors have harnessed the power of social media to perform an

essential function of their jobs: communicating with their constituents and other

members of the public about—and in service of—their official duties. The digital

public forums created by government-operated social media accounts have grown

increasingly crucial to our democracy.

           Social media has been a transformative tool for government actors seeking to

engage directly with members of the public. Indeed, public officials and entities across

the country and at all levels of government have increasingly used social media

platforms to engage with their constituents. Over 10,000 social media accounts for

federal agencies and sub-agencies have been registered with the United States

Digital Service; agencies use these accounts to promote new policy initiatives and

educate the public.4 For example, the National Institutes of Health (“NIH”) has

registered over 300 social media accounts,5 which the NIH uses to provide updates on




    U.S. Digital Registry, https://perma.cc/A5E8-B67N (public database of social
     4

media accounts managed by U.S. government agencies, organizations, and
programs).
     5   See id.


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its research,6 discuss its grant funding,7 and seek input from constituents.8 Public

universities also commonly use social media accounts to discuss campus life,

announce administrative changes, and highlight new initiatives and programs.9 And

state and local governments commonly manage multiple social media accounts to

connect with different cross-sections of their communities about matters ranging

from public safety to sustainability to transportation.10

       Social media is attractive to government actors because it offers the ability to

reach wide audiences. According to a survey conducted by the Pew Research Center,




  6 See, e.g., National Institutes of Health (@nihgov), Instagram (Feb. 24, 2023),
https://www.instagram.com/reel/CpDtwOOgvt1 (a reel providing the “weekly
roundup of NIH’s research news”).
  7  See, e.g., National Institutes of Health Office of Extramural Research
(@NIHgrants), Twitter (Mar. 1, 2023), https://twitter.com/NIHgrants/status/
1630933306609942529 (sharing a blog post about NIH grant funding and success rate
data for fiscal year 2022).
  8  See, e.g., National Institutes of Health (@NIH), Twitter (Feb. 14, 2023),
https://twitter.com/NIH/status/1625573807955263488          (soliciting “input on
challenges affecting retention in the postdoctoral trainee community”).
  9     See,    e.g.,   Indiana     University     (@IndianaUniversity),      Facebook,
https://www.facebook.com/IndianaUniversity (last visited Mar. 16, 2023); Purdue
University (@LifeAtPurdue), Twitter, https://twitter.com/lifeatpurdue (last visited
Mar.      16,    2023);    University       of   Illinois     (@UofIllinois),  Twitter,
https://twitter.com/UofIllinois (last visited Mar. 16, 2023).
  10  See, e.g., City of Chicago, Social Media, https://alpha.chicago.gov/social (last
visited Mar. 15, 2023) (listing over 100 social media accounts, including accounts for
the Department of Planning and Development, the Department of Public Health, and
the Department of Water Management); City of Madison, Outreach,
https://perma.cc/T7YK-5P7M (listing over 70 social media accounts associated with
the city, including accounts for the clerk’s office, the fire department, and the public
library); Milwaukee County, Social Media, https://perma.cc/9T5L-MUKE (listing over
80 social media accounts, including accounts for Milwaukee County parks, the sheriff,
and the Office of Emergency Management).


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seven in ten U.S. adults regularly use at least one social media platform.11

Additionally, one in two U.S. adults report that they get some news from social media

platforms and one in three U.S. adults report that they regularly get news specifically

from Facebook.12 Government actors leverage this audience to engage directly with

constituents. As an example of the potential reach of government-operated social

media accounts, in the first five months of 2020 alone, members of Congress

collectively produced an average of 73,924 tweets and 33,493 Facebook posts per

month, which generated a total of over 476 million reactions and “favorites” as well

as over 112 million shares and retweets.13

       Government-run social media accounts also offer unique opportunities for

public discourse because they are not subject to traditional space or time constraints.

Through social media, government actors can engage in multiple back-and-forth

conversations with members of the public, without being limited to disseminating

one-way messages via press releases or advertisements. They can converse with

constituents, activists, and other members of the public irrespective of location or

schedules. Government actors are drawn to social media precisely because of these

communicative benefits: in a survey of members of Congress and their staff, for

example, 76% of respondents reported that social media enabled more meaningful



  11 Brooke Auxier & Monica Anderson, Social Media Use in 2021, Pew Res. Ctr.
(Apr. 7, 2021), https://perma.cc/237M-AA9B.
  12 Jacob Liedke & Katerina Eva Matsa, Social Media and News Fact Sheet, Pew
Res. Ctr. (Sept. 20, 2022), https://perma.cc/E8KC-QSLA.
  13Patrick Van Kessel, et al., Congress Soars to New Heights on Social Media 12,
Pew Res. Ctr. (July 16, 2020), https://perma.cc/S8PJ-VVA5.


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interactions and 70% found that social media made them more accountable to their

constituents.14 For their part, constituents use social media to “petition their

[government] representatives and otherwise engage them in a direct manner”—that

is, they can interact with government actors in much the same way as they could at

a town hall. Packingham, 137 S. Ct. at 1735; Liverman v. City of Petersburg, 844 F.

3d 400, 407–08 (4th Cir. 2016) (recognizing that “a social media platform amplifies

the distribution of the speaker’s message . . . on matters of public import”). Unlike a

town hall, though, political discourse online can occur for longer periods of time,

across multiple physical places, and with a greater number of participants.

Conversation and access to information, for both government entities and their

constituents, now exist at their fingertips.

II.        Proper application of the public forum doctrine to speech restrictions
           in government-operated social media accounts is essential to protect
           against unconstitutional viewpoint censorship.

           Unfortunately, the rise in government use of social media has been

accompanied by numerous attempts by government actors to exclude critical and

dissenting views from the interactive components of these accounts. Public officials

from across the political spectrum, ranging from former President Trump to

Representative Alexandria Ocasio-Cortez to Senator John Cornyn, have blocked their

critics from the social media accounts that they used in furtherance of their official




   Bradford Fitch & Kathy Goldschmidt, #SocialCongress 2015 10–11, Cong. Mgmt.
      14

Found. (2015), https://perma.cc/TX32-2CME.


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duties.15 Officials at the state and local levels have also blocked individuals who

criticized them from their social media accounts.16 Public agencies are no different;

the U.S. Army, for example, has blocked individuals from posting anti-war comments

on Army-run social media accounts associated with video games.17

       Government actors are not just blocking individual critics; many are also

deploying keyword blocking—an optional feature offered by both Facebook and

Instagram that allows an account holder to prevent comments containing certain

words from appearing publicly on the account—to suppress critical comments.18 The

NIH has created a list of banned words that may not be used in the comments on its

Facebook and Instagram accounts; as in this case, the list of banned words effectively


  15 See Nicole Cobler, Sen. Cornyn Unblocks Twitter Critic After Lawsuit, Austin
Am.-Statesman (May 1, 2020), https://perma.cc/RY7L-KRVL; Michael Gold, Ocasio-
Cortez Apologizes for Blocking Critics on Twitter, N.Y. Times (Nov. 4, 2019),
https://perma.cc/KAM5-SXJT; Charlie Savage, Trump Can’t Block Critics from His
Twitter Account, Appeals Court Rules, N.Y. Times (July 9, 2019),
https://perma.cc/GT6A-EVUS.
  16 See, e.g., Renee Oxner, Texas Attorney General Ken Paxton Agrees to Stop
Blocking People on Twitter, Ending Lawsuit Over First Amendment, Tex. Tribune
(July 12, 2021), https://perma.cc/Z2XW-TT79.
  17 See Kellen Browning & Taylor Lorenz, Lawyers Demand the Military Stop
Violating Free Speech on Twitch, N.Y. Times (July 22, 2020), https://perma.cc/LSA3-
2MNT.
  18 When an account holder using keyword blocking adds a word to their list of
blocked words, any comment that contains the blocked word on any post will be
automatically hidden from public view. On Facebook, a hidden comment will remain
visible to the account holder, the commenter and the commenter’s Facebook friends;
other users will be unable to read or engage with the comment. See A-1 at 9. On
Instagram, a hidden comment will remain visible only to the account holder and the
commenter; no other user, including those who follow the commenter, will be able to
read or engage with the comment. This deals a double injury to the commenter: they
are both censored and hobbled in their ability to contest that censorship, as they are
deterred from ever learning that their comment has been removed.


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excludes speech critical of animal testing from appearing on the NIH’s social media

accounts.19 The Arkansas state police department, for its part, once blocked words

like “pig,” “pigs,” and “copper,” leading a district court to observe that there was no

“plausible explanation” for the suppression of these words “other than impermissible

viewpoint discrimination.” Tanner v. Ziegenhorn, No. 4:17-cv-780-DPM, 2021 WL

4502080, at *4 (E.D. Ark. Sept. 30, 2021).

        In 2020, amicus the Foundation for Individual Rights and Expression

conducted a survey of over 200 public universities and colleges and found that 87%

blocked users, 78% used Facebook’s “profanity” filter—deploying a list of words users

frequently flag as offensive—and 30% crafted their own list of blocked keywords,

often to squelch criticism unique to that institution.20 For example, the University of

Kentucky blocked the words “birds,” “chicken,” and “chickens” from its Facebook

account to limit animal advocacy regarding their dining service provider.21 The

University of North Carolina at Chapel Hill revealed that it blocked comments

mentioning “Silent Sam,” a confederate monument on campus that was removed in




  19 See Jocelyn Kaiser & Meredith Wadman, NIH Sued for Blocking Social Media
Comments from Animal Rights Advocates, Science (Sept. 10, 2021),
https://perma.cc/ML2X-34A4.
  20 See No Comment: Public Universities’ Social Media Use and the First
Amendment 7–12, Found. for Individual Rts. & Expression (Apr. 22, 2020),
https://perma.cc/3G4E-86WY (discussing specific examples of the keyword filters
public colleges and universities use to restrain speech critical of the institutions
themselves, their corporate partners, and matters of public concern).
  21   Id. at 10.


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2018.22 And Clemson University blocked a professor’s name, seeking to hide

comments criticizing the professor for referring to Republicans as “racist scum.”23

         A growing number of courts have applied the First Amendment’s longstanding

public forum doctrine in striking down attempts by government actors to suppress

criticism from the comment threads on their social media accounts. Under the First

Amendment, a public forum is established when the government makes space that it

owns or operates available for speech by members of the public. See Cornelius v.

NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 801 (1985); Se. Promotions, Ltd.

v. Conrad, 420 U.S. 546, 555 (1975). The forum may be physical, or it may be

“metaphysical,” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 830

(1995), such as a “channel of communication,” Cornelius, 473 U.S. at 802, or a funding

stream, Perry Educ. Ass’n. v. Perry Local Educators’ Ass’n, 460 U.S. 37, 46–47 (1983).

The government’s intent to open a forum for public discourse is the touchstone of

forum analysis. Cornelius, 473 U.S. at 802. To determine intent, courts look to

objective factors, like “the nature of the property,” its “compatibility with expressive

activity,” and “the policy and practice of the government” in operating the forum.

Walker v. Tex. Div., Sons of Confederate Veterans, Inc., 576 U.S. 200, 216 (2015)

(quoting Cornelius, 473 U.S. at 802).

         Four circuit courts, and numerous district courts around the country, have

recognized that the public forum doctrine applies to government-run social media



  22   Id. at 10–11.
  23   Id. at 11.


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accounts. See, e.g., Garnier v. O’Connor-Ratcliff, 41 F.4th 1158 (9th Cir. 2022) (finding

interactive components of school board trustees’ social media accounts were a public

forum); Knight First Amend. Inst. at Columbia Univ. v. Trump, 928 F.3d 226 (2d Cir.

2019) (same with respect to interactive components of then-President Donald

Trump’s Twitter account), vacated as moot sub nom. Biden v. Knight First Amend.

Inst. at Columbia Univ., 141 S. Ct. 1220 (Mem.) (2021); Davison v. Randall, 912 F.3d

666 (4th Cir. 2019) (same with respect to interactive components of a county

supervisor’s Facebook account); Robinson v. Hunt Cnty., Texas, 921 F.3d 440 (5th Cir.

2019) (applying public forum doctrine to interactive components of a local sheriff’s

office Facebook account).24 These decisions have emphasized that social media is

“inherently” compatible with expressive activity, see Garnier, 41 F.4th at 1178;

Davison, 912 F.3d at 682, and that, in allowing comments on public posts, the

government has intentionally opened up a space for discussion and interaction by

members of the public, see Knight First Amend. Inst. at Columbia Univ., 928 F.3d at

237; see also One Wis. Now v. Kremer, 354 F. Supp. 3d 940, 954 (W.D. Wis. 2019)

(“Having opted to create a [social media] account, however, and benefit from its broad,

public reach, defendants cannot now divorce themselves from its First Amendment


  24 See also Blackwell v. City of Inkster, 596 F. Supp. 3d 906 (E.D. Mich. 2022);
Kimsey v. City of Sammamish, 574 F. Supp. 3d 911 (W.D. Wash. 2021); Tanner, 2021
WL 4502080; Faison v. Jones, 440 F. Supp. 3d 1123 (E.D. Cal. 2020); One Wis. Now
v. Kremer, 354 F. Supp. 3d 940, 953 (W.D. Wis. 2019). Greater still is the number of
courts that have adopted this reasoning in the course of rejecting motions to dismiss
by government actors. See, e.g., Czosnyka v. Gardiner, No. 21-cv-3240, 2022 WL
407651 (N.D. Ill. Feb. 10, 2022); Report & Recommendation, People for the Ethical
Treatment of Animals, Inc. v. Banks, No. 4:20-cv-2913, 2022 WL 4021938 (S.D. Tex.
Sept. 2, 2022) (assuming Texas university’s comment threads were public forums).


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implications and responsibilities as state actors.”). As these courts have recognized,

the First Amendment protects speech that occurs in these forums, and speech

restrictions must survive heightened scrutiny.

      These courts have carefully scrutinized government actors’ practices to ensure

that the forums created on government-operated social media accounts are free from

viewpoint discrimination, which is unconstitutional in any type of forum. See, e.g.,

Rosenberger, 515 U.S. at 829. Viewpoint discrimination can manifest on government-

operated social media accounts in a variety of forms, such as when a government

actor selectively deletes comments, preemptively blocks comments that use certain

keywords, or completely bans individual users from posting comments to the account.

Regardless of the technical way in which it is accomplished, excluding speech from a

public forum based on viewpoint violates the “fundamental principle of the First

Amendment that the government may not punish or suppress speech based on

disapproval of the ideas or perspectives the speech conveys.” Matal v. Tam, 582 U.S.

218, 248 (2017) (Kennedy, J., concurring in part and concurring in the judgment in

part); see also Texas v. Johnson, 491 U.S. 397, 414 (1989) (“If there is a bedrock

principle underlying the First Amendment, it is that the government may not

prohibit the expression of an idea simply because society finds the idea itself offensive

or disagreeable.”); Se. Promotions, Ltd, 420 U.S. at 563 (Douglas, J., concurring in

part and dissenting in part) (“As soon as municipal officials are permitted to pick and

choose . . . the path is cleared for a regime of censorship under which full voice can be

given only to those views which meet with the approval of the powers that be.”).




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       As these court decisions exemplify, independent judicial scrutiny of speech

restrictions in digital public forums is crucial to preserving these spaces for open

dialogue and political engagement. Even innocuous-seeming policies may be used in

practice to discriminate against dissenting or critical comments. Left unchecked,

government-imposed speech restrictions on a social media account may skew

conversation in the account’s interactive spaces in the government’s favor, warping

public discourse and turning these vibrant spaces into nothing more than pro-

government cheerleading sections.

III.   The University’s use of keyword blocking to suppress speech related
       to animal advocacy on its social media accounts violates the First
       Amendment.

       In denying Appellant Madeline Krasno’s motion for summary judgment, the

district court failed to properly apply the public forum doctrine to the University’s

systematic suppression of speech relating to animal advocacy. The court first

concluded that the comment threads on the University’s Facebook and Instagram

accounts are limited or nonpublic forums, citing evidence that the University engaged

in ongoing manual review of the comments made in response to the University’s

posts. See A-1 at 20–31. Second, the court concluded that as a general matter, the

University’s rule prohibiting off-topic comments is reasonable and viewpoint-neutral.

Id. at 32–38. But the court did not address whether the University’s keyword blocking

violates the First Amendment. Instead, it concluded that Ms. Krasno lacks standing

to challenge this practice. Id. at 41–45.




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      The district court’s standing decision was erroneous. Members of the public

like Ms. Krasno have standing to challenge speech restrictions like the University’s

keyword blocking under the First Amendment. See Appellant Br. 41–49. The

“irreducible constitutional minimum” of standing, Lujan v. Defs. of Wildlife, 504 U.S.

555, 560 (1992), requires that a commenter show the government’s keyword blocking

places them “under threat of an actual and imminent injury” to their speech.

Schirmer v. Nagode, 621 F.3d 581, 585 (7th Cir. 2010). In this context, the standing

requirement is satisfied where a commenter wants to speak in the forum using

keywords that remain blocked by the University. A rule requiring a clearer threat of

injury would destroy the public’s ability to vindicate speech rights online, because the

government could always point to a possibility that it may modify keyword blocking

lists in the future or may manually unhide comments. Here, the University has

blocked Ms. Krasno’s animal advocacy in the past and continues to use keyword

blocking to suppress such speech. Ms. Krasno’s assertion that she wishes to continue

advocating for animals on the University’s comment threads, including by using

blocked keywords, is sufficient to confer standing. See Bell v. Keating, 697 F.3d 445,

454 (7th Cir. 2012) (finding standing to challenge a protest-related ordinance where

the plaintiff’s “past participation in a protest buttresses his representation that he

wishes to participate in protests or assemblies in Chicago in the future, and his past

arrest under [the ordinance] supports his claim that the enforcement of the ordinance

has chilled his willingness to participate again”); ACLU v. Alvarez, 679 F.3d 583, 590–

94 (7th Cir. 2012) (finding standing where “[t]he ACLU claims a First Amendment




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right to undertake this recording, but the eavesdropping statute prohibits it from

doing so”); see also Report & Recommendation, People for the Ethical Treatment of

Animals, Inc. v. Banks, No. 4:20-cv-02913, 2022 WL 4021938, at *5–8 (S.D. Tex. Sept.

2, 2022) (holding animal rights organization had standing to challenge suppression

of speech from social media comment threads based on allegation of future intention

to post similar messages).

       Had the district court analyzed the University’s use of keyword blocking as a

means of enforcing its off-topic rule, it would not matter whether it concluded the

University’s commenting threads were designated forums, limited forums, or

nonpublic forums. In any type of public forum, speech restrictions must be both

reasonable and viewpoint-neutral. See Cornelius, 473 U.S. at 806. But the keyword

blocking in this case is neither: it is both under- and overinclusive, suppressing

speech related to animal advocacy even when it is on-topic and failing to suppress

other types of off-topic speech. It is both discriminatory in its targeting of animal

advocacy for disfavor and unreasonable in light of the University’s stated goal of

reducing off-topic comments.25


  25  Should the Court consider forum analysis, amici agree with Ms. Krasno that the
district court erred. The district court placed undue weight on the University’s
written policies, including “interim guidance” that the University drafted only after
litigation commenced, and that contained “a number of confusing statements.” A-1 at
24; see also Appellant Br. 37. And it ultimately overlooked the evidence that the
University had only selectively enforced its off-topic rule, holding instead that
“perfect enforcement is not required,” A-1 at 25–26. But there is a gulf between
“perfect enforcement,” an undoubtedly impractical standard in the age of social
media, and evidence that a rule is intentionally over-enforced against certain types
of disfavored speech and under-enforced against other equally violative types of
speech. See Appellant Br. 38–39.


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          A. The University’s keyword blocking impermissibly discriminates
             based on viewpoint.

       The most fundamental problem with the University’s keyword blocking is that

it suppresses disfavored speech related to animal advocacy, in violation of the First

Amendment’s prohibition on viewpoint discrimination in any kind of public forum.

       It is obvious that the list of keywords that the University has blocked targets

animal advocacy. The vast majority of the words on the University’s keyword blocking

list for Instagram are related to animal advocacy, as are a significant percentage of

the words on its list for Facebook. For example, the lists prohibit many terms

associated generally with animal advocacy, including “barbaric,” “cruelty,” and

“torture.” See SA-6, 7. And they prohibit many words associated with criticism of the

University’s participation in animal testing, including “#releasecornelius” and

“WNPRC,” references to a primate and the University facility in which he is being

held. Id. Likewise, the University’s decision to block “PETA,” as well as “@PETA” on

Instagram, appears designed to prevent commenters from mentioning or even

notifying PETA of any discussions or controversies occurring on the University’s

social media accounts. The University’s lists do not appear to similarly target any

other ostensibly off-topic speech.26




  26 Indeed, even beyond the University’s keyword blocking lists, record evidence
suggested that the University’s conduct is motivated by a specific desire to suppress
animal advocacy, not general concern for off-topic speech. See SA-4, 5 (University
social media team discussions on “monitor[ing] anti-animal research comments” or
“animal rights” as part of daily plan); R. 25 at 143:1–12 (deposition testimony in
which the Vice Chancellor for University Communications stated that he actively
monitors PETA’s social media accounts).


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      The University tried to escape the patently discriminatory nature of its

keyword blocking at summary judgment by characterizing speech related to animal

advocacy as a particularly pernicious form of off-topic spam, but the evidence in the

record makes clear that the University targets political speech critical of animal

testing directly, rather than merely suppressing it as a byproduct of even-handed

attempts to enforce an off-topic rule.

      To begin, the University concedes that its content moderation practices, which

include keyword blocking as well as manual blocking, have “hidden some comments

relating to animal advocacy even though they probably were on-topic.” See A-1 at 11.

For example, one member of the public commented on a University post about

technology that detects pneumonia to ask, “Did you figure that out by using abused

monkeys?” See R. 38-24. This comment relates to the topic of the University’s post,

yet it was hidden from public view automatically, because “monkeys” is a word on the

University’s keyword blocking list. See SA-7.

      Relatedly, although the University claimed it would update its keyword

blocking lists to be responsive to the topics of each of its posts and the types of

frequently off-topic comments it was receiving, see A-1 at 9, it did not remove terms

related to animal advocacy from its keyword blocking lists when its own posts

introduced topics relevant to animal testing. In September 2020, for example, the

University posted about its Dairy Cattle Center, yet its keyword blocking lists

remained static, blocking comments relating to animal advocacy even though they

would be indisputably on-topic. See A-1 at 12; R. 54 ¶ 87. Indeed, Ms. Krasno’s own




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comment on that post, urging the University to “stop exploiting animals” and “shut

down the labs” was hidden from view, see A-1 at 12 & n.9, although it was relevant

to the post because the Center is used for “teaching and research.”27 And in December

2020, the University posted about treatments at its veterinary college, see A-1 at 14,

while its keyword blocking continued to automatically block words related to animal

advocacy.

       Further, the record shows “several examples” of other types of off-topic

comments that were not similarly suppressed through either keyword blocking or

manual comment suppression, see id. at 11, strongly indicating that the University’s

real concern was criticism of its animal testing practices, not off-topic speech as a

general matter. As the district court recognized, in many instances where comments

relating to animal advocacy had been hidden automatically or manually, the

comment threads continued to display numerous off-topic comments on other issues.

Id. For example, under a University post discussing the impact of COVID-19 social

distancing orders, at least four comments critical of the University’s animal research

were hidden, while another off-topic comment asking about the University’s

experience with certificate programs was left visible. R. 38-23. And under the

September 2020 post about the Dairy Cattle Center, Ms. Krasno’s on-topic comment

was hidden while an off-topic comment about whether the commenter would be




  27 According to the University, the Dairy Cattle Center is used “for both teaching
and research,” which “allows students to have hands on access to cows during all lab
practical sessions.” Animal & Dairy Servs., Univ. of Wis.–Madison,
https://perma.cc/H8A9-RN22.


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admitted to the University was left visible. SA-20. The University’s decision to single

out animal advocacy “is strong evidence that the [off-topic] policy has not been applied

in a viewpoint neutral way.” Christian Legal Soc’y v. Walker, 453 F.3d 853, 866 (7th

Cir. 2006) (holding that a school group demonstrated a likelihood of success on the

merits of its First Amendment claim based on its argument that the school failed to

apply its nondiscrimination policy to other groups that discriminated in their

membership, like the Muslim Students’ Association, the Adventist Campus

Ministries, and the Young Women’s Coalition).

      Through its use of keyword blocking, the University is automatically

suppressing speech related to animal advocacy wherever it appears, not only when it

can reasonably be deemed “off-topic,” and is doing so without similar concern for other

types of off-topic speech. This is unconstitutional viewpoint suppression, not the

evenhanded application of a viewpoint-neutral off-topic rule. This practice violates

the First Amendment’s prohibition on viewpoint discrimination in public forums.

Matal, 582 U.S. at 243; see also R.A.V. v. City of St. Paul, Minn., 505 U.S. 377, 394

(1992) (“Selectivity of this sort creates the possibility that the city is seeking to

handicap the expression of particular ideas.”).

          B. The University’s keyword blocking is unreasonable.

      Even if the University’s keyword blocking were not a transparent effort to

suppress a particular viewpoint, it would still be unreasonable in light of the purposes

of the forum. Keyword blocking is a cudgel, enabling account administrators to ban

scores of comments on topics they can predict and those they cannot. It lacks any of




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the nuance that human content moderators might use to approach their work.

Whether or not a government social media account administrator could create a

keyword blocking practice that complies with the First Amendment’s requirements,

the University’s haphazard and ill-considered keyword blocking in this case does not.

       First, the University’s keyword blocking is unreasonable because it

automatically suppresses comments without regard to whether or not they are

actually on- or off-topic. See Air Line Pilots Ass’n, Int’l v. Dep’t of Aviation of City of

Chi., 45 F.3d 1144, 1159 (7th Cir. 1995) (explaining that the reasonableness standard

requires the government to determine whether speech “would actually interfere with

the forum’s stated purposes” (cleaned up)); see also Women’s Health Link, Inc. v. Fort

Wayne Pub. Tranp. Corp., 826 F.3d 947, 952 (7th Cir. 2016) (holding transit

company’s rejection of an ad unconstitutional because the ad was not “political,

religious or moral—types of ad [the transit company] bans, whether validly or

invalidly, from its buses.”). As discussed above, the University has conceded its

keyword blocking can and has hidden on-topic comments. See Part IIIA supra; see

also A-1 at 11. It has not attempted to ameliorate this problem by, for example,

reviewing and manually unhiding comments that were automatically hidden but are

relevant to the topic of the post. See id.28 While some courts have upheld government

restrictions on off-topic speech within the context of a government-operated social

media account, these cases have involved only manual deletion or hiding of


  28 This feature is available on Facebook. See How do I block certain words from
appearing in comments on my Facebook Page?, Facebook Help Center,
https://perma.cc/YDZ3-B6SF.


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comments, not automatic keyword blocking of speech regardless of whether it is on-

topic. See Charudattan v. Darnell, 834 F. App’x 477, 480–81 (11th Cir. 2020); Davison

v. Plowman, 247 F. Supp. 3d 767, 777 (E.D. Va. 2017), aff’d, 715 F. App’x 298 (4th

Cir. 2018). This sort of context-specific application of viewpoint-neutral commenting

rules is wholly absent from the University’s keyword blocking.

       Second, the University’s overbroad suppression of speech through keyword

blocking is unreasonable because keyword blocking applies not only to individual

posts, but to all comments containing the selected words in any post on the entirety

of the social media account.29 While the University might feel reasonably confident

that comments containing “PETA” will not be relevant to a post about its COVID-19

protection measures, the same is not true for posts on the same account discussing

University job fairs.30 Similarly, whatever the merits of the University’s decision to

suppress words like “animal testing” from posts about matriculation statistics,

comments referencing “animal testing” are undoubtedly likely to be relevant to its

posts about its own Dairy Cattle Center. In the context of social media, where

discussion is not time-limited and can continue even on older posts, this poses a

particularly acute risk that on-topic comments will be suppressed due to overly broad


  29 See How do I block certain words from appearing in comments on my Facebook
Page?, Facebook Help Center, https://perma.cc/YDZ3-B6SF (explaining that keyword
blocking applies to the entire Facebook page); Hide comments or message requests you
don’t want to see on Instagram, Instagram Help Center, https://help.instagram.com/
700284123459336 (explaining that keyword blocking applies to all comments “in
[Instagram] posts you share”).
  30 Nor is it necessarily true of all posts about COVID-19. See R. 38-24 (hiding on-
topic post asking about the role of animal testing in developing test for determining
whether pneumonia was caused by COVID-19).


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keyword filters. Because the University does not, and—given the manner in which

Facebook and Instagram enable keyword blocking—cannot apply unique keyword

filters that are sensitive to the topics relevant to each post, its keyword blocking is

not a reasonable means of limiting off-topic speech.

       Third, the University’s keyword blocking is an unreasonable way of enforcing

its off-topic rule because it is vastly underinclusive, apparently targeting only one

type of off-topic speech—animal advocacy. The University thus applies its off-topic

rule aggressively to animal advocacy, and only rarely (if at all) to other types of

similarly off-topic speech. This type of “unfair or inconsistent enforcement” is

evidence of unreasonableness. Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1891

(2018); see also Archdiocese of Wash. v. Wash. Metro. Area Trans. Auth., 897 F.3d 314,

330 (D.C. Cir. 2018) (“[A] challenged regulation may be unreasonable, regardless of

the reasons for its adoption, if it is inconsistently enforced.”).

       The district court downplayed the risk posed by this type of selective

enforcement, noting that perfectly consistent enforcement on social media is difficult

to achieve, A-1 at 25–26, but the difficulty of enforcing commenting rules perfectly is

no excuse for such nakedly selective enforcement. As discussed above, the University

uses keyword blocking overwhelmingly to hide speech related to animal advocacy, not

to hide all types of off-topic speech. See Part IIIA supra. And, as Appellant has argued

and the district court noted, it does not compensate by manually hiding or deleting

other types of off-topic speech with any sort of vigor. See Appellant Br. 25, 38–39.




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      If the University is permitted to censor animal advocacy by selectively

enforcing its off-topic rule, then any government actor could do the same to suppress

criticism or shut down important topics of public debate. President Biden could shut

down discussion of inflation on his official social media account, then–President

Trump could have suppressed any comments relating to impeachment, and then–

President Obama could have done the same regarding Benghazi. A local school board

could permanently prohibit discussion of “Black Lives Matter” or “CRT,” which may

also inhibit efforts to alert relevant advocacy groups when debate on these topics

occurs on social media. The public forum doctrine is designed to prevent the

government from using its power in this way to distort public debate and silence the

voices of its critics on controversial topics. Here, the reasonableness standard

requires that the Court find the University’s keyword blocking unconstitutional.

                                    Conclusion

      For the foregoing reasons, this Court should reverse the district court’s

decision and hold that the University’s keyword blocking violates the First

Amendment. At the very least, this Court should reverse the district court’s decision

on standing and remand for reconsideration of the constitutionality of the

University’s keyword blocking.




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March 17, 2023                        Respectfully submitted,

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        This brief complies with the type-volume limitations of 7th Cir. R. 29 because

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Dated: March 17, 2023
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                                             Katherine Fallow




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      I, Katherine Fallow, certify that on March 17, 2023, I electronically filed the

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the case are registered CM/ECF users and that service will be accomplished by the

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Dated: March 17, 2023
                                            /s/ Katherine Fallow
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